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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

BAYER INTELLECTUAL PROPERTY                      )
GMBH, BAYER ANIMAL HEALTH                        )
GMBH, and BAYER HEALTHCARE LLC,                  )
                                                 )
                      Plaintiffs,                )
                                                 )
       v.                                        ) C.A. No. 17-591 (RGA)
                                                 )
CAP IM SUPPLY, INC.,                             )
                                                 )
                      Defendant.                 )
                                                 )

              STIPULATION A N D [ ~ ) ORDER STAYING CASE


       IT IS HEREBY STIPULATED AND AGREED by the parties, subject to the approval of

the Court, that all deadlines in the Scheduling Order (D.I. 41) are vacated and this case is stayed

through and including September 7, 2018 to provide the parties time in which to finalize

settlement. If necessary, by or before September 7, 2018, the parties will contact the Court to

discuss a new schedule.
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    MORRIS, NICHOLS, ARSHT & TUNNELL LLP            SHAW KELLER LLP



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                                                    Attorneys for Defendant
    August 10, 2018
    12115798




                   SO ORDERED this   H   day of August 2018.



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